
In re Prince, Thomas E.; — Defendant(s); applying for writ of certiorari and/or review; Parish of Claiborne, 2nd Judicial District Court, Div. “A”, No. 17,520; to the Court of Appeal, Second Circuit, No. 29208-KA.
*966Granted in part; denied in part. The sentence imposed by the trial court is amended to delete the requirement of restitution. The relevant statutes, La.R.S. 14:27; La.R.S. 14:31; La.R.S.La. 14:44.1, do not authorize a district court to impose restitution in a felony case as part of an executory sentence of imprisonment. State v. Lee, 94-0814 (La. 6/17/94), 641 So.2d 206; State v. Patterson, 442 So.2d 442 (La.1983). Compare La.R.S. 14:67.3(F) (authorizing restitution as part of sentence for theft); La.C.Cr.P. art. 895.1 (authorizing restitution as a condition of probation); La.R.S. 15:574.4(J) (authorizing restitution as a condition of parole). In all other respects the application is denied.
JOHNSON, J., not on panel.
